248 F.2d 754
    101 U.S.App.D.C. 341
    Maynard W. SCOTT, Appellant,v.UNITED STATES of America, Appellee.Walter B. FAGAN, Appellant,v.UNITED STATES of America, Appellee.
    Nos. 13961, 13962.
    United States Court of Appeals District of Columbia Circuit.
    Argued Sept. 24, 1957.Decided Oct. 3, 1957.
    
      Mr. John J. Beatty, III, Washington, D.C., appointed by the District Court, for appellant in No. 13,961.
      Mr. Martin J. McNamara, Jr., Washington, D.C., for appellant in No. 13,962.
      Mr. Carl W. Belcher, Asst. U.S. Atty., with whom Messrs. Oliver Gasch, U.S. Atty., and Lewis Carroll, Arthur J. McLaughlin and Nathan J. Paulson, Asst. U.S. Attys., were on the brief, for appellee.
      Before WILBUR K. MILLER, DANAHER and BASTIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Jointly indicted for robbery and found guilty by a jury, Maynard W. Scott and Walter B. Fagan appeal.  Their principal ground is that the District Court erred in refusing to suppress for use as evidence substantial sums of money found on their persons when they were arrested two or three hours after the robbery.  We think the search and seizure were incidents of a lawful arrest.
    
    
      2
      We have examined all other reasons for reversal advanced by appellants but regard them as insubstantial.
    
    
      3
      Affirmed.
    
    